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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

NALEX ENERGY, LLC,                             §
    Plaintiff,                                 §
                                               §
VS.                                            §   CIV. NO. 4:22-cv-01824
                                               §
LAURITZEN BULKERS A/S,                         §   FED. R. CIV. P. 9(h)
J. LAURITZEN (U.S.A.), INC.,                   §   Admiralty Claim
J. LAURITZEN A/S AND                           §
DEAL ENERGY A/S,                               §
      Defendants.                              §


LAURITZEN BULKERS A/S,                         §
    Defendant and Third-Party                  §
    Plaintiff,                                 §
                                               §
VS.                                            §
                                               §
KIRBY INLAND MARINE LP,                        §
    Third-Party Defendant.

 KIRBY INLAND MARINE, LP’S ANSWER TO LAURITZEN BULKERS A/S’s
                  THIRD-PARTY COMPLAINT

        Third-Party Defendant Kirby Inland Marine, LP (“Kirby”) files its Federal Rule of

Civil Procedure 12(b) Defenses and Answer to Lauritzen Bulkers A/S’s (“Lauritzen”)

Third-Party Complaint (ECF Doc. 17), and would show this Court the following:

                                        FIRST DEFENSE

        Lauritzen’s Third-Party Complaint fails to state a claim against Kirby upon which

relief can be granted.




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                    RESPONSES TO LAURITZEN’S ALLEGATIONS

        1.      Kirby generally denies all the allegations contained against it in Lauritzen’s

Third-Party Complaint and each paragraph and sub-paragraph thereof, except as such

designated allegations, paragraphs or sub-paragraphs are expressly admitted herein

pursuant to the Federal Rules of Civil Procedure.

        2.      Responding to the particular allegations of the Third-Party Complaint, Kirby

respectfully shows as follows:

        3.      The introductory paragraph of the Third-Party Complaint includes no

allegations requiring a response by Kirby, but if any response is required, the allegations

are denied.

        4.      Paragraph 1 of the Third-Party Complaint includes no allegations requiring

a response by Kirby, but if any response is required, the allegations are denied.

                                     Jurisdiction and Venue

        5.      Kirby admits that this Court has jurisdiction over this matter. Kirby does not

have sufficient information to either admit or deny the remainder of the allegations in

Paragraph 2 of the Third-Party Complaint.

        6.      Kirby admits that venue is proper in this judicial district. Kirby also admits

that it is a Texas limited liability company with its principal place of business in Houston,

Texas. Kirby does not have sufficient information to either admit or deny the remaining

allegations in Paragraph 3 of the Third-Party Complaint.




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                                               Parties

        7.      Kirby admits that Nalex Energy, LLC (“Nalex”) sells and supplies marine

fuels to ocean-going vessels. Kirby does not have sufficient information to either admit or

deny the remainder of the allegations in Paragraph 4 of the Third-Party Complaint.

        8.      Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 5 of the Third-Party Complaint.

        9.      Kirby admits that it is a Texas limited liability company with its principal

place of business in Houston, Texas. Kirby also admits that it physically supplies marine

fuels to ocean-going vessels. Kirby denies the remainder of the allegations in Paragraph 6

of the Third-Party Complaint.

                                       Factual Background

        10.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 7 of the Third-Party Complaint.

        11.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 8 of the Third-Party Complaint.

        12.     Kirby admits the allegations in Paragraph 9 of the Third-Party Complaint.

        13.     Kirby admits the allegations in Paragraph 10 of the Third-Party Complaint.

        14.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 11 of the Third-Party Complaint.

        15.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 12 of the Third-Party Complaint.

        16.     Kirby admits the allegations in Paragraph 13 of the Third-Party Complaint.

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        17.     Kirby admits the allegations in Paragraph 14 of the Third-Party Complaint.

        18.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 15 of the Third-Party Complaint.

        19.     Kirby does not have sufficient information to either admit or deny the

allegations in Paragraph 16 of the Third-Party Complaint.

        20.     Kirby denies the allegations in Paragraph 17 of the Third-Party Complaint.

        21.     Kirby denies the allegations in Paragraph 18 of the Third-Party Complaint.

        22.     Kirby denies the allegations in Paragraph 19 of the Third-Party Complaint.

        23.     Kirby denies the allegations in Paragraph 20 of the Third-Party Complaint,

including subparts (a) through (d) thereof.

        24.     Kirby denies the allegations in Paragraph 21 of the Third-Party Complaint,

including subparts a-d thereof.

                                               Prayer

        25.     The Prayer of the Third-Party Complaint includes no allegations requiring a

response by Kirby, but if any response is required, the allegations, including parts a-c

thereof, are denied.

                                       SECOND DEFENSE

        The events culminating in damages, if any, to Lauritzen were the result of the

negligence, fault, or want of due care on the part of Lauritzen, and/or those for whom

Lauritzen is responsible.




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                                        THIRD DEFENSE

        The events culminating in damages, if any, to Lauritzen were not the result of any

negligence, fault, or want of due care on the part of Kirby and those for whom Kirby may

be responsible.

                                       FOURTH DEFENSE

        Lauritzen has failed to mitigate its damages, if any.

                                        FIFTH DEFENSE

        The samples tested by Nalex were drawn by Kirby in the manner provided in Section

5.4 of the Nalex Energy, LLC General Conditions of Sale and Delivery effective from

September 1, 2018 (the “Terms & Conditions”), made part of the contract between Nalex

and Lauritzen and applicable to the sale of the bunkers in question.

                                        SIXTH DEFENSE

        The test results of the samples tested by Lauritzen are not binding on Kirby, as

Section 5.6 of the Terms & Conditions dictate that “only samples provided by Seller to

Buyer at the time of delivery shall be deemed representative of the Product delivered.”

                                      SEVENTH DEFENSE

        Per Section 5.5 of the Terms & Conditions, Nalex’s independent sample analysis of

the sealed sample retained by Nalex, which showed the bunkers to be within Lauritzen’s

specifications, is final and binding on Lauritzen.

                                       EIGHTH DEFENSE

        Per Section 14.1 of the Terms & Conditions, Kirby’s liability to Lauritzen, if any,

is limited to the price of the bunkers supplied.

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                                        NINTH DEFENSE

        Kirby is not liable to Lauritzen for any special, indirect, or consequential damages,

if any, per Section 14.1 of the Terms & Conditions.

                                        TENTH DEFENSE

        Kirby is not liable to Lauritzen for claims in tort, including negligence, arising out

of or in connection with the provision of the bunkers, pursuant to Section 14.1 of the Terms

& Conditions.

                                     ELEVENTH DEFENSE

        Kirby reserves the right to plead additional defenses or respond in more detail to

Lauritzen’s Third-Party Complaint as further investigation and discovery are conducted.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Third-Party Defendant Kirby Inland

Marine, LP respectfully requests that the Court dismiss Lauritzen Bulkers A/S’s Third-

Party Complaint, enter a take-nothing judgment in favor of Kirby Inland Marine, LP, and

award Kirby Inland Marine, LP its attorneys’ fees and costs incurred in the defense of this

action. Kirby Inland Marine, LP seeks such other and further relief to which it may be

justly entitled.




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                                               By:/s/ David James
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                                               Attorney-in-Charge for Third-Party
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have on this 21st day of December, 2022, served a copy of the
foregoing on all counsel of record via CM/ECF.


                                               /s/ David James
                                               David James




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